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 3                              UNITED STATES DISTRICT COURT
 4                                   DISTRICT OF ARIZONA
 5   ArizonaYagé Assembly, and Winfield             Case No.:20-CV-02373-ROS
 6
     Scott Stanley III, in his capacity as
     Founder and Director of Arizona Yagé        [PROPOSED] ORDER GRANTING
 7   Assembly,                                   EXTENSION OF TIME
     ,
 8
                  Plaintiffs,
 9

10
           vs.

11   Merrick Garland Attorney General of the
     United States; et al.
12
                  Defendants.
13

14         Upon consideration of Plaintiffs’ Motion for Leave to File Untimely Opposition to
15   Defendants’ Joint Statement Regarding Plaintiffs’ Amended Privilege Log, and for good
16   cause shown, the Court hereby ORDERS:
17         1. Plaintiffs’ motion is GRANTED.
18         2. Plaintiffs may file their opposition no later than July 21, 2025.
19         3. The opposition shall be deemed timely and will be considered on the merits.
20

21   IT IS SO ORDERED.
22

23   Dated: July __, 2025
24
     ______________________________
25   Hon. Eileen S. Willett
26   United States Magistrate Judge

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                                PROPOSED ORDER GRANTING EXTENSION OF TIME
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 1   Respectfully submitted
 2   July 14, 2025,

 3   /s/Charles Carreon
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                              PROPOSED ORDER GRANTING EXTENSION OF TIME
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